UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

ANTHONY TANZA, MICHAEL S. BOSMAN,       Civil Action No.
ROBERT T. GIANI, GARY E. SOBEK, CHARLES
ENGEL, FRED H. SMITH, CARMELA A.
SYZMANSKI, WILLIAM R. SHANNON, BARRY
DUBROW, ALEXANDER CIOFFI, LANA          NOTICE OF REMOVAL
BONGIOVI, JIMMY ADKINS, JUSTIN A.
GRIFFIN, GLENNY V. ADON, MICHAEL
BONETA, DIETER KERN, DENNIS J. DELUCIE,
ALBERT VELASQUEZ, AND JAMES R. HETTI,
ON BEHALF OF THEMSELVES AND ALL
OTHER SIMILARLY SITUATED,

                      Plaintiffs,

               -against-

GARDA CL ATLANTIC, INC.,

                      Defendant.


       Pursuant to 28 U.S.C. §§ 1441 and 1446, Defendant Garda CL Atlantic, Inc.

(“Defendant”) hereby gives notice of its removal of the above-captioned action from the

Supreme Court of the State of New York, County of Suffolk, to the United States District Court

for the Eastern District of New York. As grounds therefore, Defendant states as follows:

       1.      On December 29, 2016, Plaintiffs Anthony Tanza, Michael S. Bosman, Robert T.

Giani, Gary E. Sobek, Charles Engel, Fred H. Smith, Carmela A. Syzmanski, William R.

Shannon, Barry Dubrow, Alexander Cioffi, Lana Bongiovi, Jimmy Adkins, Justin A. Griffin,

Glenny V. Adon, Michael Boneta, Dieter Kern, Dennis J. Delucie, Albert Velasquez, and James

R. Hetti (“Plaintiffs”) commenced a civil action against Defendant in the Supreme Court of the

State of New York, County of Suffolk, where it was given Index number 621223/2016. Copies

of the Summons and Verified Complaint are attached hereto as Exhibit A. No other pleadings or

discovery have been served in this action, nor has any court order been entered.
        2.      On May 16, 2017, Plaintiffs and Defendant filed a stipulation in the Supreme

Court of the State of New York, County of Suffolk, which provided that “Defendant Garda CL

Atlantic, Inc. agrees to accept service of the Summons and Compliant in this action as of May

12, 2017[.]” A copy of the Stipulation is attached hereto as Exhibit B.

        3.      A copy of this Notice of Removal, with accompanying exhibit, and a Notice to

State Court of Removal are being served upon Plaintiffs and will be filed with the Clerk of the

Supreme Court of the State of New York, County of Suffolk, promptly after the filing of this

Notice of Removal with this Court, in accordance with the provisions of 28 U.S.C. § 1446(d).

        4.      This is a civil action subject to removal to this Court on the basis of diversity

jurisdiction.

        5.      This case is a civil action over which this Court has original jurisdiction under 28

U.S.C. § 1332 and is one which may be removed to this Court by Defendant pursuant to 28

U.S.C. §§ 1441 and 1446 in that it is an action between citizens of different states wherein the

amount in controversy exceeds the sum of $75,000, exclusive of interest and costs:

                a.     As alleged in the Complaint, the events or omissions given rise to this

claim occurred at Plaintiffs’ place of work located in Central Islip, New York. Defendant is a

corporation organized under the laws of a State other than New York (Delaware) and has its

principle place of business outside of New York (Florida). As a result, there is complete

diversity of citizenship between Plaintiffs and the Defendant so as to vest removal jurisdiction in

this Court;

                b.     This is a civil action wherein the amount in controversy, exclusive of

interest and costs, exceeds the sum of $75,000.00.         In the Complaint, Plaintiffs request a

monetary penalty of $500 for each day of the violation since 2015 in addition to other




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unspecified monetary damages. As such, the value of the relief sought by Plaintiffs in the form

of monetary damages exceeds the sum of $75,000.

       6.      This Notice of Removal is timely filed in accordance with 28 U.S.C. § 1446(b).

       7.      This is a civil case brought in the Supreme Court of the State of New York,

County of Suffolk, and, accordingly, under 28 U.S.C. §§ 112(b) and 1441(b), the United States

District for the Eastern District of New York, is the proper forum for removal.

       8.      By filing the Notice of Removal, Defendant does not waive any defenses

available to them at law, in equity or otherwise.

       9.      This Notice of Removal has been signed by counsel for Defendant in compliance

with the requirements of 28 U.S.C. § 1446(a) and Rule 11 of the Federal Rules of Civil

Procedure.

       WHEREFORE, Defendant respectfully requests that the action now pending in the

Supreme Court of the State of New York, County of New York, be removed to this Court in

accordance with the foregoing statutory provisions.

Date: May 25, 2017
      New York, New York
                                                      /s/ A. Michael Webber
                                                      A. Michael Weber
                                                      Houston A. Stokes
                                                      LITTLER MENDELSON, P.C.
                                                      900 Third Avenue
                                                      New York, NY 10022.3298
                                                      212.583.9600

                                                      Attorneys for Defendant




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Exhibit A
FILED: SUFFOLK COUNTY CLERK 12/29/2016 09:39 AM        INDEX NO. 621223/2016
NYSCEF DOC. NO. 1                                 RECEIVED NYSCEF: 12/29/2016




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Exhibit B
SUPREME COURT OF THE STATE OF NEW YORK
COUNTY OF SUFFOLK

ANTHONY TANZA, MICHAELS. BOSMAN,
ROBERT T. GIANI, GARY E. SOBEK, CHARLES                          Index No. 621223/2016
ENGEL, FRED H. SMITH, CARMELA A.
SYZMANSKI, WILLIAM R. SHANNON, BARRY                        STIPULATION TO ACCEPT
DUBROW, ALEXANDER CIOFFI, LANA                                SERVICE AND AMEND
BONGIOVI, JIMMY ADKINS, JUSTIN A.                              THE CASE CAPTION
GRIFFIN, GLENNY V. ADON, MICHAEL
BONETA, DIETER KERN, DENNIS J. DELUCIE,
ALBERT VELASQUEZ, and JAMES R. HETTI, on
behalf of themselves and all others similarly situated,

                                     Plaintiffs,

                 -against-

GARDA SECURITY INC. and GARDA
INTERNATIONAL INC.,

                                     Defendants.


       IT IS HEREBY STIPULATED AND AGREED, by and between the undersigned

attorneys for Plaintiffs and Defendant Garda CL Atlantic, Inc., that "Garda CL Atlantic, Inc." is

the properly named Defendant in this case, that "Garda Security Inc." and "Gaida International

Inc." should be dismissed without prejudice as Defendants in this case, and that the case caption

and the Complaint should be amended to delete the reference to "Garda Security Inc." and

"Garda International Inc." and shall name only "Garda CL Atlantic, Inc." as the Defendant in

this case; and

       IT IS FURTHER STIPULATED AND AGREED that Plaintiff has not served Garda CL

Atlantic, Inc. with the Summons and Complaint in this action; and

       IT IS FURTHER STIPULATED AND AGREED that Defendant Garda CL Atlantic, Inc.

agrees to save the expense of serving a Summons and Complaint in this action; and
        IT IS FURTHER STIPULATED AND AGREED that Defendant Garda CL Atlantic, Inc.

agrees to accept service ofthe Summons and Complaint in this action as ofMay 12, 2017; and

        IT IS FURTHER STIPULATED AND AGREED that Defendant Garda CL Atlantic, Inc.

will keep all defenses or objections to the lawsuit, the court's jurisdiction, and the venue of the

action; and

        IT IS FURTHER STIPULATED AND AGREED that facsimile and/or electronic copies

of the signatures on this stipulation may be treated as originals for all purposes.

Dated: May 12, 2017                            Dated: May 12,2017
       Fanningdale, New York                           e York,NewYork




 Neil M. Frank                                              'cha Weber
 FRANK & ASSOCIATES, P.C.                              Houst n . tokes
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Attorneys for Plaintiffs                           Attorneys for Defendant Garda CL Atlantic, Inc.




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